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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                       8:08CR226
                              )
          v.                  )
                              )
BRUCE BALDWIN,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue trial (Filing No. 33).         The Court notes defendant has

filed a written waiver of speedy trial (Filing No. 38), and finds

said motion should be granted.       Accordingly,

           IT IS ORDERED that defendant’s motion is granted; trial

of this matter is rescheduled for:

                Wednesday, December 10, 2008, at 9 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.      The parties will have time to pursue

plea negotiations or prepare for trial, and the ends of justice

will be served by continuing this case and outweigh the interests

of the public and the defendant in a speedy trial.              The

additional time between September 29, 2008, and December 10,

2008, shall be deemed excludable time in any computation of time
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under the requirement of the Speedy Trial Act.             18 U.S.C.

§ 3161(h)(8)(A) & (B).

           DATED this 16th day of October, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                      LYLE E. STROM, Senior Judge
                                      United States District Court




                                     -2-
